                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                          THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In the Matter of:                                   )
                                                     )
 Aqua Marine Enterprises, Inc.,                      )
 EIN: XX-XXX3036                                     )       CASE NO. 18-80464-CRJ11
                                                     )
                Debtor.                              )       CHAPTER 11
                                                     )


                    RE-NEWED MOTION FOR RELIEF
        FROM AUTOMATIC STAY AND REQUEST FOR EXPEDITED HEARING

        COMES NOW, Aqua Marine Enterprises, Inc., by and through its undersigned counsel,

 and respectfully renews its request for this Honorable Court to enter an Order pursuant to §362(d)

 granting relief from the automatic stay to allow the parties to proceed with the below referenced

 Appeal and requests an expedited hearing on such motion, and in support thereof would say:

  1.    On February 16, 2018 (“Petition Date”), Debtor filed a voluntary petition for relief under

        Chapter 11 of the United States Bankruptcy Code in this district and division.

  2.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334. This matter is a

        core proceeding pursuant to 28 U.S.C. §157(b). Venue is proper in this Court pursuant to

        28 U.S.C. §§1408 and 1409. The statutory predicate for relief requested herein is 11 U.S.C.

        §362.

  3.    Debtor is a manufacturer of steel storm shelters. It also markets and sells the product

        throughout North Alabama. Since the Petition Date, the Debtor has continued to operate

        and manage its business as debtor in possession under sections 1107(a) and 1108 of the

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       Bankruptcy Code. To date, this Court has not appointed a trustee or examiner nor has any

       official committee been established in this bankruptcy case.

 4.    Prepetition, Debtor was involved in litigation styled K&B Fabricators, Inc. vs. Aqua

       Marine Enterprises, Inc., et al., Case No. CV2014-900394.00. The final order was entered

       in the Circuit Court for Morgan County, Alabama on April 28, 2017. The Debtor and its

       principal, Brent Mitchell, appealed this final order to the Alabama Supreme Court on

       October 3, 2017 in Case No. 1770021 (hereinafter “the Appeal”).

  5.   This Court considered multiple matters in this case including a request by both the Debtor

       and K&B Fabricators, Inc. (“K&B”) for relief from the automatic stay in order to allow the

       Appeal to proceed at the status conference held on March 5, 2018. At the hearing, the

       Court ordered the automatic stay be terminated for the purposes of allowing the Appeal to

       proceed.

  6.   Notwithstanding the foregoing ruling, K&B filed a Suggestion of Bankruptcy and Motion

       to Stay with the Alabama Supreme Court on March 12, 2018, requesting that the Appeal

       be stayed in its entirety pending the resolution of the Debtor’s bankruptcy case. A true and

       correct copy of this Suggestion of Bankruptcy is attached as Exhibit “A”. The Alabama

       Supreme Court granted K&B’s request to stay the entire appeal on March 15, 2018.

  7.   The filing of the Suggestion of Bankruptcy by K&B is completely at odds with the

       representations made to this Court relative to the request for relief from the automatic stay

       for the purposes of allowing the Appeal to proceed.

  8.   Moreover, subsequent to the status conference counsel for the Debtor has been unable to

       reach an agreement with counsel for K&B as to the scope of the Order for relief. Debtor

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       submits that it is both necessary and appropriate for the Order terminating the stay

       regarding the Appeal to be nunc pro tunc to February 16, 2018, which is the Petition Date.

  9.   Factors which bankruptcy courts have considered when determining whether actions

       should be retroactively approved include whether a Court would have authorized the post-

       petition action if a timely application had been made, whether any creditor would be

       harmed by the continuation of the action and whether the debtor honestly believed it had

       the authority to act. See, In re Allied Sign Co., Inc., 280 B.R. 688, 693 (Bankr. S.D. Ala.

       2001).

 10.   The Debtor respectfully submits that this Court would have granted the parties relief from

       the automatic stay on February 16, 2018, just as it did at the status conference on March 5,

       2018. Moreover, the automatic stay, under §362 of the Bankruptcy code, “operates as a

       stay, applicable to all entities, of the commencement or continuation ... of a judicial,

       administrative, or other action or proceeding against the debtor that was or could have been

       commenced before the bankruptcy. 11 U.S.C. §362(a). See, In re Kozich, 406 B.R. 949,

       953 (Bankr. S.D. Fla. 2009)(emphasis original). Thus, the Debtor appropriately believed

       that the automatic stay did not prevent it from filing its brief with the Alabama Supreme

       Court, which it did on March 1, 2018, pursuant to that Court’s briefing schedule.

 11.   Furthermore, K&B is not harmed by the entry of an Order terminating the stay as to the

       Appeal nunc pro tunc to February 16, 2018.          No act or event occurred during the

       intervening 17 days between the Petition Date and the status conference which prejudiced




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           K&B’s rights on appeal.1 The Debtor, however, is now concerned that K&B will use the

           stay before the Alabama Supreme Court to argue that the Debtor’s brief on appeal is

           somehow invalid in an effort to thwart an otherwise meritorious appeal.

 12.       Lastly, there is little doubt that the validity and amount of K&B’s claim, if any, are central

           components to any plan of reorganization which the Debtor will propose in this case. As

           such, it is not in the best interests of the Estate or its creditors for the appellate proceedings

           to be delayed. Accordingly, the combination of K&B’s actions, which are directly contrary

           to the relief requested and obtained from this Court, and need for the Appeal to proceed

           without delay constitute “cause” under §362(d) of the Bankruptcy Code to terminate the

           automatic stay for the purposes of allowing the Appeal to proceed. Furthermore, the

           Debtor requests that this Court enter its Order terminating the automatic stay as to the

           Appeal nunc pro tunc to February 16, 2018.

       WHEREFORE, PREMISES CONSIDERED, Debtor, Aqua Marine Enterprises, Inc.,

     respectfully requests that this Honorable Court grant it relief from the automatic stay as to the

     Appeal nunc pro tunc to February 16, 2018 as well as grant it such additional relief as is just and

     proper.

           Respectfully submitted on this 16th day of March, 2018.

                                                     /s/ Kevin D. Heard
                                                     Kevin D. Heard
                                                     Attorney for Debtor




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  Indeed, as recently as March 8, 2018 counsel for K&B Fabricators in the Appeal sought and obtained from the
 Debtor and Mr. Mitchell consent to an extension of time in which to file their Appellee Brief.
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 16th day of March, 2018, I served a copy of the foregoing
 Debtor’s Renewed Motion for Relief from Automatic Stay on the parties listed below and on
 the attached matrix by depositing the same in the United States Mail, postage prepaid and properly
 addressed, via electronic email at the e-mail address below, unless the party being served is a
 registered participant in the CM/ECF System for the United States Bankruptcy Court for the
 Northern District of Alabama, service has been made by a “Notice of Electronic Filing” pursuant
 to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s Administrative Procedures
 as indicated below:

 Notice will be electronically mailed to:

 Richard Blythe
 Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

 Tazewell T. Shepard IV counsel for Movant K&B Fabricators, Inc.
 ty@ssmattorneys.com, janelle@ssmattorneys.com


                                              /s/ Kevin D. Heard
                                              Kevin D. Heard




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